AO 91 (Rev. 14/11). Criminal Complaint some FILED____ ENTERED

 

\ UU a Case 1:19-cr-00391-JKB Document1 Filed 07/18/19 Page 1 of 1
\
A

 

 

 

ED
UNITED STATES DISTRICT COURT jy, 1. apg
for the
District of Maryland CLERK, US DISTRICT COURT
gy _ DISTRICT OF MARYLAND
United States of America ) DEPUTY
v. )
Stephen Lyle ORBACK Case No. 1 g ~ 2 3 J 0 ADC
)
)
)
Defendants)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April through June, 2019 in the county of Baltimore in the
District of Maryland , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 875 Interstate Threatening Communication

This criminal complaint is based on these facts:

See Affidavit attached hereto and incorporated by reference herein.

@% Continued on the attached sheet.

Z C HA, fed a

Keith Murray, Special Agent, FBI

Printed name and title

 

Swom to before me and signed in my presence.

Date: 1% Zé oA) a
Jhadge's signature

City and state: Baltimore, Maryland A. David Copperthite, U.S. Magistrate Judge

Printed name and fitle

 
